Case 2:04-cV-02326-.]P|\/|-de Document 27 Filed 06/06/05 Page 1 of 2 Page|D 37

 
 

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IN THE UNITED sTATES DISTRICT CoURrg§ JUH _5 m 5= 1,8
FoR THE WESTERN DISTRICT OF TENNESSEE

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WESTERN DWISION B sess

W..D, {JF T§\§, MEMPHIS

FITEC INTERNATIONAL, INC.,

Plaintiff, Case No.: 04-2326 D

v.
PAUL C. ADERN, et al.,

Def`endants.

 

ORDER DENYING MOTION TO PROCEED IN FOR]V[A PA UPERIS (DOCKET ENTRY #3)

 

Before the Court is Adern’s Motion to Proceed fn Forma Pauperz`s. For the reasons set forth

in Magistrate Judge Vescovo’s July 12, 2005 order denying appointment of counsel, the motion is

DENIED.

Upon review of the motion, and for good cause shown, the motion is

IT ls so oRDERED this 3/¢ day 01(\`_( jim ,2005.

B RNICE BO IE DONALD
ITED STATES DISTRICT JUDGE

  
    

I'hls document entered on the docket sheet in compliance 7
with Ru|e 58 end/or 79(a) FRCP on if 'Q § 92

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Honorable Bernice Donald
US DISTRICT COURT

